Case 1:20-cv-02578-BMC Document 89 Filed 06/23/23 Page 1 of 1 PageID #: 2106




                          81 MAIN STREET • SUITE 515 • WHITE PLAINS • NEW YORK • 10601
                          TEL: 908-516-2066 • FAX: 908-516-2049 • WEB: WWW.FBRLLP.COM    EMAIL: JBonner@fbrllp.com




June 23, 2023



Via ECF



Honorable Brian M. Cogan
United States District Judge
U.S. District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: Force, et al. v. Qatar Charity, Qatar National Bank and Masraf al Rayan,
    1:20-cv-02578-BMC

Dear Judge Cogan:
       On behalf of the Plaintiffs in the above-captioned action, I respectfully submit the enclosed
Second Circuit decision in Spetner v. Palestine Investment Bank, No. 20-3849, 2023 WL 4035924
(June 16, 2023) in further support of Plaintiffs’ opposition to Defendants’ pending motions to
dismiss.
        In Spetner, the Second Circuit reversed Judge Komitee’s dismissal of Anti-Terrorism Act
claims for lack of personal jurisdiction in circumstances where a New York correspondent account
was used by the defendant’s agent to transfer funds to organizations that served as proxies for
terrorist groups in the Palestinian Territories. See especially Slip Op. at 13-14, 2023 WL 4035924
at *4-5 (discussing the principal’s “control” of the agent).
                                                   Respectfully submitted,




                                                   James P. Bonner



Enclosure
